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 1   JAN DAVID KAROWSKY
     Attorney at Law
 2   A Professional Corporation
     California State Bar Number 53854
 3   716 19th Street, Suite 100
     Sacramento, CA 95811-1767
 4   Telephone: (916) 447-1134
     Facsimile: (916) 448-0265
 5   Email:       KarowskyLaw@sbcglobal.net
 6   Attorney for Defendant
     Jimmy Au
 7
                                 UNITED STATES DISTRICT COURT
 8
                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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     United States of America,                )         Case No.: Cr.S-08-543-GEB
11                                            )
                 Plaintiff,                   )         AMENDED ORDER TO CONTINUE
12                                            )         STATUS CONFERENCE
           vs.                                )
13                                            )         DATE: January 8, 2010
     Jimmy Au, Zhen Shu Pang and Maggie Luong,)         TIME: 9:00 a.m.
14                                            )         JUDGE: Hon. Garland E. Burrell, Jr.
                 Defendants                   )
15                                            )
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17                                        [PROPOSED] ORDER
18          GOOD CAUSE APPEARING, the Status Conference now set for January 8, 2010 at
19   9:00 a.m. is continued to January 29, 2010 at 9:00 a.m.. Based on the stipulation of the parties
20   and good cause appearing therefrom, the Court hereby finds that the failure to grant a
21   continuance in this case would deny respective counsel for both parties reasonable time
22   necessary for effective preparation, taking into account the exercise of due diligence. The Court
23   specifically finds that the ends of justice served by the granting of such continuance outweigh the
24   interests of the public and the defendants in a speedy trial. The Court further orders that time
25   shall be excluded from the Speedy Trial Act calculation from the date of January 8, 2010 to




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 1   January 29, 2010 the new Status Conference date, pursuant to 18 U.S.C. §3161 (h)(7)(B)(iv) and
 2   Local Code T4 in order to give Counsel for the Defendants reasonable time to prepare.
 3   IT IS SO ORDERED.
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 5   Dated: 1/11/10
                                              GARLAND E. BURRELL, JR.
 6                                            United States District Judge
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